Case 1:98-cr-00038-JMS-MJD Document 160 Filed 07/01/20 Page 1 of 2 PageID #: 1649




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                             )
                                                        )
                                Plaintiff,              )
                                                        )
                           v.                           )       No. 1:98-cr-00038-JMS-MJD
                                                        )
  MARK WHITE,                                           ) -03
                                                        )
                                Defendant.              )

              ENTRY DIRECTING FURTHER BRIEFING AND LIFTING STAY

                                                   I.

         Defendant filed a pro se motion that the Court construed as a Motion for Sentence

  Reduction under the First Step Act of 2018. Dkt. 142. The Court appointed counsel to represent

  Defendant and stayed the case. Dkt. 146. Counsel from the Indiana Federal Community Defender

  appeared on Defendant's behalf, dkt. 147, but then withdrew, dkts. 158, 159. Because the Indiana

  Federal Community Defender has withdrawn from this case, the stay issued in this case is hereby

  lifted. See dkt. 146.

         Defendant must now pursue his Motion for Sentence Reduction pro se unless he obtains

  private counsel. Accordingly, the Court ORDERS Defendant to supplement his motion with any

  information or argument that may inform the Court’s discretion to grant or deny his Motion for

  Sentence Reduction within 42 days after the date this Entry is issued. In the alternative, Defendant

  may file a motion to withdraw his Motion for Sentence Reduction.

                                                  II.

         The Government is ORDERED to respond to Defendant’s Motion and supplement within

  14 days after the deadline for Defendant to file his supplement. In its response, the Government
Case 1:98-cr-00038-JMS-MJD Document 160 Filed 07/01/20 Page 2 of 2 PageID #: 1650




  should indicate whether it opposes the relief Defendant seeks and, if it does, the reasons for its

  opposition.

                                                 III.

           Defendant shall have 21 days from the date the Government files its response to file any

  reply.

                                                 IV.

           The Presentence Report is not presently part of the record. Accordingly, the Probation

  Office is directed to file the Presentence Report for Defendant under seal.

           IT IS SO ORDERED.



                Date: 7/1/2020




  Distribution:

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